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                      UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                        WACO
                                        WACO DIVISION


WSOU INVESTMENTS LLC                          §
                                              §     CIVIL NO:
vs.                                           §     WA:20-CV-00726-ADA
                                              §
HEWLETT PACKARD ENTERPRISE                    §
COMPANY


            ORDER SETTING JURY SELECTION AND TRIAL


         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
JURY SELECTION AND TRIAL in District Courtroom #1, on the Third Floor of the United
States Courthouse, 800 Franklin Ave, Waco,
                                       Waco TX, on Monday, May
                                                           05/ 9 20             09:00 AM.
                                                                    09, 2022 at 09:00 AM  All
parties and counsel must appear at this hearing.

        IT IS SO ORDERED this 1/23 02




                                              Alan D Albright
                                              UNITED STATES DISTRICT JUDGE
